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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION




      GUN OWNERS OF AMERICA, Inc.
                   et al.


                        Plaintiffs,                     Case No. 1:18-cv-01429-PLM-RSK

             v.
                                                        Hon. Paul L. Maloney
      WILLIAM P. BARR, 1
                        et al.,


                        Defendants.



                       NOTICE OF SUPPLEMENTAL AUTHORITY

            Defendants hereby provide notice of the February 25, 2019 opinion of the United

  States District Court for the District of Columbia, denying motions for preliminary

  injunction in three pending cases: Guedes v. ATF, No. 18-cv-2988 (D.D.C.), Firearms Policy

  Coalition v. Barr, No. 18-cv-3083 (D.D.C.) (consolidated with Guedes), and Codrea v. Barr, 18-

  cv-3086. (D.D.C.) That opinion, docketed as ECF No. 27 on the Guedes docket, is the first

  opinion addressing the merits of the Final Rule at issue in these cases, Bump-Stock-Type

  Devices, 83 Fed. Reg. (“FR”) 66514 (Dec. 26, 2018).

            Defendants agree with the conclusion of the Court in D.D.C. that “none of the

  plaintiffs’ arguments support preliminary injunctive relief.” Mem. Op., ECF No. 27, Guedes



  1
   By operation of Fed. R. Civ. P. 25(d), Attorney General Barr has automatically been
  substituted for former Acting Attorney General Matthew G. Whitaker as a Defendant in this
  action.
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  v. ATF, No. 18-cv-2988 (D.DC. Feb. 25, 2019). This Court should reach the same result.

  However, Defendants note that, consistent with the Supreme Court’s decision in United

  States v. Apel, 571 U.S. 359 (2014), Defendants have not contended that the deference

  afforded under Chevron v. Nat. Res. Def. Council, 467 U.S. 837 (1984), applies in this action.

  See Apel, 571 U.S. at 369 (the Supreme Court has “never held that the Government’s reading

  of a criminal statute is entitled to any deference”).


  Dated: February 27, 2019                         Respectfully submitted,


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                                                   /s/
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